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                       IN HE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

       MICHAEL J. HOUSE,

              Plaintiff,                          CASE NO. 2:19-CV-I0586

       V.
                                                  JUDGE GERSHWIN A. DRAIN
       GENERAL ELECTRIC CO.,ET AL.,              MAGISTRATE JUDGE
                                                 STEPHANIE DAWKINS DAVIS
              Defendants.



       STIPULATED DISMISSAL OF DEFENDANT H. LAWRENCE CULP,JR. WITH PREJUDICE



              Pursuant to Rule 4I(a)(1)(A)(ii) of the Federal Rules of Civil Procedure and

      the stipulation of the parties, as evidenced below by the signatures of Plaintiff

      Michael J. House and counsel for Defendants, Plaintiff dismisses this action in its

      entirety with prejudice as against Defendant H. Lawrence, Culp, Jr. ("Culp"), each

     party to bear its own costs. This Stipulated Dismissal applies only to Defendant

     Culp and does not apply to Defendant General Electric Co.


     Dated:
              /0 oze ao/7
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     So stipulated:


     M hael J. Ho e,pro se            Julia T. Stuebing(P81227)
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                                     Counselfor Defendant H. Lawrence
                                     Culp, Jr. and Defendant General
                                     Electric Co.
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                             CERTIFICATE OF SERVICE

          The undersigned hereby certifies that, on this 21day of October, 2019, the
                                          ref,s,,,_).A..4ovefA   rnk ea.lAtcoue+5.50
                                                                                   ,/
    foregoing document was

    and that Pro Se Plaintiff House was served by email and U.S. Mail as set forth

    below:

                Michael J. House
                27855 California Dr. NW
                Lathrup Village, MI 48076
                Thinkbig.mh@gmail.com




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